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From:
To:
Subject:        [EXTERNAL EMAIL] - TR: Receipt for work done for Ambassador Olson
Date:           Thursday, September 24, 2020 12:57:39 PM




De :
Envoyé : lundi 29 février 2016 08:39
À:
Objet : Receipt for work done for Ambassador Olson

Hello             ,

This is the job done for Ambassador Olson :

Date : Saturday February 28th, 2016
Starting at : 2.30 pm
Ending at : 11.00 pm
Pick up at : The Westin Bonaventure Downtown LA
Drop off at : Sheraton hotel Cerritos
Specification: round trip
Hourly rate : $55 per hour
Hours worked : 8.5
Total in U.S. Dollars : $467.5

Thank you for your business,
Cordially,
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   Termination Report | U.S. Office of Government Ethics; 5 C.F.R. part 2634 | Form Approved: OMB No. (3209-0001)(March 2014)


   Executive Branch Personnel Public Financial Disclosure Report (OGE Form
   278e)

   Filer's Information


   OLSON, RICHARD G.
   Special Rep for Afghanistan and Pakistan, S/SRAP, Department of State
   Date of Termination: 11/30/2016


   Other Federal Government Positions Held During the Preceding 12 Months: None



   Electronic Signature - I certify that the statements I have made in this form are true, complete and correct to the
   best of my knowledge.
      eSigned in FDM by:
      RICHARD G. OLSON
      User ID:

      12/01/2016


   Agency Ethics Official's Opinion - On the basis of information contained in this report. I conclude that the filer is in
   compliance with applicable laws and regulations(Subject to any comments below).
      eSigned in FDM by:

      User ID:

      12/15/2016


   Other review conducted by
      Reviewer:
      eSigned in FDM by:

      User ID:

      12/15/2016


   U.S. Office of Government Ethics Certification




  1. Filer's Positions Held Outside United States Government
  This report has no reported Positions Held Outside United State Gov.


  2. Filer's Employment Assets & Income and Retirement Accounts
  This report has no reported Assets


  3. Filer's Employment Agreements and Arrangements
  This report has no reported Agreements and Arrangements

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  4. Filer's Sources of Compensation Exceeding $5,000 in a Year
  This report has no reported Compensation Exceeding $5,000



  5. Spouse's Employment Assets & Income and Retirement Accounts
                                                                                                 INCOME
   #       DESCRIPTION                            EIF           VALUE          INCOME TYPE




  6. Other Assets and Income
                                                                                                 INCOME
   #       DESCRIPTION                            EIF           VALUE          INCOME TYPE
                                                                                                 AMOUNT




  7. Transactions
  This report has no reported Transactions



  8. Liabilities
  This report has no reported Liabilities


  9. Gifts and Travel Reimbursements
                                                                    BRIEF
   #       SOURCE NAME                            CITY, STATE                              VALUE
                                                                    DESCRIPTION
   1       President of Aghanistan                Kabul             Other gift: Medal --   100
                                                                    Order of Wazir Akbar
                                                                    Khan


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   Summary of Contents
   1. Filer's Positions Held Outside United States Government
   Part 1 discloses positions that the filer held at any time during the reporting period (excluding positions with the United States Government).
   Positions are reportable even if the filer did not receive compensation.
   This section does not include the following: (1) positions with religious, social, fraternal, or political organizations; (2) positions solely of an
   honorary nature; (3) positions held as part of the filer's official duties with the United States Government; (4) mere membership in an
   organization; and (5) passive investment interests as a limited partner or non-managing member of a limited liability company.
   2. Filer's Employment Assets & Income and Retirement Accounts
   Part 2 discloses the following:
           Sources of earned and other non-investment income of the filer totaling more than $200 during the reporting period (e.g., salary,
           fees, partnership share, honoraria, scholarships, and prizes)
           Assets related to the filer's business, employment, or other income-generating activities that (1) ended the reporting period with a
           value greater than $1,000 or (2) produced more than $200 in income during the reporting period (e.g., equity in business or
           partnership, stock options, retirement plans/accounts and their underlying holdings as appropriate, deferred compensation, and
           intellectual property, such as book deals and patents)


           This section does not include assets or income from United States Government employment or assets that were acquired separately
           from the filer's business, employment, or other income-generating activities (e.g., assets purchased through a brokerage account).
           Note: The type of income is not required if the amount of income is $0 - $200 or if the asset qualifies as an excepted investment
           fund (EIF).


   3. Filer's Employment Agreements and Arrangements
   Part 3 discloses agreements or arrangements that the filer had during the reporting period with an employer or former employer (except the
   United States Government), such as the following:
           Future employment
           Leave of absence
           Continuing payments from an employer, including severance and payments not yet received for previous work (excluding ordinary
           salary from a current employer)
           Continuing participation in an employee welfare, retirement, or other benefit plan, such as pensions or a deferred compensation plan
           Retention or disposition of employer-awarded equity, sharing in profits or carried interests (e.g., vested and unvested stock options,
           restricted stock, future share of a company's profits, etc.)


   4. Filer's Sources of Compensation Exceeding $5,000 in a Year
   Part 4 discloses sources (except the United States Government) that paid more than $5,000 in a calendar year for the filer's services during
   any year of the reporting period.
           The filer discloses payments both from employers and from any clients to whom the filer personally provided services. The filer
           discloses a source even if the source made its payment to the filer's employer and not to the filer. The filer does not disclose a
           client's payment to the filer's employer if the filer did not provide the services for which the client is paying.


   5. Spouse's Employment Assets & Income and Retirement Accounts
   Part 5 discloses the following:
           Sources of earned income (excluding honoraria) for the filer's spouse totaling more than $1,000 during the reporting period (e.g.,
           salary, consulting fees, and partnership share)
           Sources of honoraria for the filer's spouse greater than $200 during the reporting period
           Assets related to the filer's spouse's employment, business activities, other income-generating activities that (1) ended the reporting
           period with a value greater than $1,000 or (2) produced more than $200 in income during the reporting period (e.g., equity in
           business or partnership, stock options, retirement plans/accounts and their underlying holdings as appropriate, deferred
           compensation, and intellectual property, such as book deals and patents)


           This section does not include assets or income from United States Government employment or assets that were acquired separately
           from the filer's spouse's business, employment, or other income-generating activities (e.g., assets purchased through a brokerage
           account). Note: The type of income is not required if the amount of income is $0 - $200 or if the asset qualifies as an excepted
           investment fund (EIF). Amounts of income are not required for a spouse's earned income (excluding honoraria).


   6. Other Assets and Income
   Part 6 discloses each asset, not already reported, that (1) ended the reporting period with a value greater than $1,000 or (2) produced more
   than $200 in investment income during the reporting period. For purposes of the value and income thresholds, the filer aggregates the filer's
   interests with those of the filer's spouse and dependent children.
           This section does not include the following types of assets: (1) a personal residence (unless it was rented out during the reporting

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           period); (2) income or retirement benefits associated with United States Government employment (e.g., Thrift Savings Plan); and
           (3) cash accounts (e.g., checking, savings, money market accounts) at a single financial institution with a value of $5,000 or less
           (unless more than $200 of income was produced). Additional exceptions apply. Note: The type of income is not required if the
           amount of income is $0 - $200 or if the asset qualifies as an excepted investment fund (EIF).


   7. Transactions
   Part 7 discloses purchases, sales, or exchanges of real property or securities in excess of $1,000 made on behalf of the filer, the filer's
   spouse or dependent child during reporting period.
           This section does not include transactions that concern the following: (1) a personal residence, unless rented out; (2) cash accounts
           (e.g., checking, savings, CDs, money market accounts) and money market mutual funds; (3) Treasury bills, bonds, and notes, and
           (4) holdings within a federal Thrift Savings Plan account. Additional exceptions apply.


   8. Liabilities
   Part 8 discloses liabilities over $10,000 that the filer, the filer's spouse or dependent child owed at any time during the reporting period.
           This section does not include the following types of liabilities: (1) mortgages on a personal residence, unless rented out (limitations
           apply for PAS filers); (2) loans secured by a personal motor vehicle, household furniture, or appliances, unless the loan exceeds the
           item's purchase price; and (3) revolving charge accounts, such as credit card balances, if the outstanding liability did not exceed
           $10,000 at the end of the reporting period. Additional exceptions apply.


   9. Gift and Travel Reimbursements
   This section discloses:
           Gifts totaling more than $375 that the filer, the filer's spouse, and dependent children received from any one source during the
           reporting period.
           Travel reimbursements totaling more than $375 that the filer, the filer's spouse, and the dependent children received from any one
           source during the reporting period.


           For purposes of this section, the filer need not aggregate any gift or travel reimbursement with a value of $150 or less. Regardless of
           the value, this section does not include the following items: (1) anything received from relatives; (2) anything received from the
           United States Government or from the District of Columbia, state, or local governments; (3) bequests and other forms of
           inheritance; (4) gifts and travel reimbursements given to the filer's agency in connection with the filer's official travel; (5) gifts of
           hospitality (food, lodging, entertainment) at the donor's residence or personal premises; and (6) anything received by the filer's
           spouse or dependent children totally independent of their relationship to the filer. Additional exceptions apply.


   Privacy Act Statement
   Title I of the Ethics in Government Act of 1978, as amended (the Act), 5 U.S.C app. § 101 et seq., as amended by the Stop Trading on
   Congressional Knowledge Act of 2012 (Pub. L. 112-105) (STOCK Act), and 5 C.F.R. Part 2634 of the U.S. Office of Government Ethics
   regulations require the reporting of this information. The primary use of the information on this report is for review by Government officials
   to determine compliance with applicable Federal laws and regulations. This report may also be disclosed upon request to any requesting
   person in accordance with sections 105 and 402(b)(1) of the Act or as otherwise authorized by law. You may inspect applications for public
   access of your own form upon request. Additional disclosures of the information on this report may be made: (1) to any requesting person,
   subject to the limitation contained in section 208(d)(1) of title 18, any determination granting an exemption pursuant to sections 208(b)(1)
   and 208(b)(3) of title 18; (2) to a Federal, State or local law enforcement agency if the disclosing agency becomes aware of violations or
   potential violations of law or regulation; (3) to another Federal agency, court or party in a court or Federal administrative proceeding when
   the Government is a party or in order to comply with a judge-issued subpoena; (4) to a source when necessary to obtain information
   relevant to a conflict of interest investigation or determination; (5) to the National Archives and Records Administration or the General
   Services Administration in records management inspections; (6) to the Office of Management and Budget during legislative coordination on
   private relief legislation; (7) to the Department of Justice or in certain legal proceedings when the disclosure agency, an employee of the
   disclosing agency, or the United States is a party to litigation or has an interest in the litigation and the use of such records is deemed
   relevant and necessary to the litigation; (8) to reviewing officials in a new office, department or agency when an employee transfers or is
   detailed from one covered position to another; (9) to a Member of Congress or a congressional office in response to an inquiry made on
   behalf of an individual who is the subject of the record; (10) to contractors and other non-Government employees working on a contract,
   service, or assignment for the Federal Government when necessary to accomplish a function related to an OGE Government-wide system of
   records; and (11) on the OGE Website and to any person, department or agency, any written ethics agreement filed with OGE by an
   individual nominated by the President to a position requiring Senate confirmation. See also the OGE/GOVT-1 executive branch-wide Privacy
   act system of records.
   Public Burden Information
   This collection of information is estimated to take an average of three hours per response, including time for reviewing the instructions,
   gathering the data needed, and completing the form. Send comments regarding the burden estimate or any other aspect of this collection of
   information, including suggestions for reducing this burden, to the Program Counsel, U.S. Office of Government Ethics (OGE), Suite 500,
   1201 New York Avenue, NW, Washington, DC 20005-3917.
   Pursuant to the Paperwork Reduction Act, as amended, an agency may not conduct or sponsor, and no person is required to respond to, a
   collection of information unless it displays a currently valid OMB control number (that number, 3209-0001, is displayed here and at the top
   of the first page of this OGE Form 278e).




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Reporting Individual's Name                                                                    Page Number
OLSON, RICHARD G.                                   2*( )RUP  RI 5HFRUG &RPPHQWV                          7 of 7
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From:
Sent:                 Mon, 20 Jul 2020 19:32:00 -0500
To:                   "'Rick Olson'"


Subject:              RE:


This is regarding the travel to Qatar to meet the Emir. Where I bought the tickets and etc

From: Rick Olson
Sent: Monday, July 20, 2020 11:30 AM
To:

Subject: Re:




 I’m puzzled by the message you sent me last week. I’ve reviewed my records
(including notes I took at the time) and they do not accord with your recollections:

 We had been discussing a Qatari defense project in the spring of 2017 (April &
May).

 After the announcement of the blockade (5 June), you asked me if I knew any
generals who might be interested in helping the effort. I suggested       .

 On 6 June I introduced you by email to

 We traveled to Doha 9-11 June.

 We continued working on the defense project through the summer, although at
some point         dropped out.

 I did not have any interaction with              . I met him once, socially, I
believe on 27 September 2017, but never discussed Qatar with him.
 I suggest you review your chronology of events in light of the above. Let me know if
I can help.

Best,
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rgo

Rick Olson




On Thursday, July 16, 2020, 03:53:47 PM EDT,
                                     wrote:




       ... thank you again for facilitating what I think were very important talks with the
Qataris. They couldn't have taken place without your leadership.

I deeply regret your treatment on SAT night. It was not right.

I hope the remainder of your travels were uneventful.

With great respect for what you're doing for our great country every day!
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         THE FUTURE OF U.S.–PAKISTAN RELATIONS


                       WEDNESDAY, DECEMBER 16, 2015

                          HOUSE OF REPRESENTATIVES,
                        COMMITTEE ON FOREIGN AFFAIRS,
                              Washington, DC.
          The committee met, pursuant to notice, at 10 o’clock a.m.,in room
       2172, Rayburn House Office Building, Hon. Edward Royce (chair-
       man of the committee) presiding.
          Chairman ROYCE. This hearing will come to order. There is a
       vote in progress. So my intention here is to begin the hearing, and
       then we will suspend for the duration of the votes and allow the
       other members of the committee to come forward. But in this fash-
       ion, myself and Congressman Poe can make our opening state-
       ments, and maybe some of the other members will be able to as
       well.
          This hearing is on the future of U.S.-Pakistan relations. The
       committee has repeatedly urged Pakistan to take meaningful ac-
       tion against key Islamist terrorist groups operating within its terri-
       tory. Unfortunately, Pakistan, which is now home to the world’s
       fastest growing nuclear weapons program, has remained a fount of
       radical Islamist thought. It was no surprise that one of the San
       Bernardino attackers, Tafsheen Malik, studied at a Pakistani
       school spreading a particularly fundamentalist message.
          Looking back, the 9/11 terrorist attacks transformed the U.S.-
       Pakistan relations overnight. After more than a decade under sanc-
       tions for its nuclear proliferation, Pakistan was to be a key ally in
       combatting Islamist militancy, becoming a leading recipient of U.S.
       aid in the nearly 15 years since.
          But while the U.S. was quick to embrace Pakistan, Pakistan has
       hardly reciprocated. Pakistani Governments have come and gone,
       but its northwestern frontier has remained a terrorist haven. With
       its security services supporting what it considers to be good
       Islamist terrorist groups, these good groups—under Pakistan’s cal-
       culus—destabilize Afghanistan and threaten neighboring India
       while the government simultaneously opposes what it considers the
       bad Islamist groups.
          Today Deobandi schools create an infrastructure of hate. Six-
       hundred Deobandi madrassas, funded with Gulf state money, teach
       intolerant, hate-filled rhetoric that inspires the foot soldiers of
       jihadist terrorism. I have made three trips to Islamabad to press
       this issue. Pakistan must do the work to register schools and close
       those creating new generations of radicals, and those are the
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       schools that are being funded with Gulf state money, the Deobandi
       schools, and they need to be closed.
          Meanwhile, Pakistan’s nuclear arsenal is on a track to be the
       third largest. Its addition of small tactical nuclear weapons in re-
       cent years is even more troubling. This is a country which spends
       a fifth of its budget on the military, from long-range missiles to F–
       16s, but under 2.5 percent on education.
          Through all of the double dealing, U.S. policy has essentially
       stood still. Security assistance—cash and arms—has continued to
       flow after the occasional temporary delays. Indeed, despite some
       Department of Defense assistance for Pakistan being held because
       of inadequate efforts against the Haqqani Network, the State De-
       partment is currently seeking more arms for Islamabad.
          Pakistan itself has been devastated by terrorism with thousands,
       over 2,000, of its soldiers killed, thousands and thousands of its
       citizens killed, in terrorist attacks. Today we recognize the year an-
       niversary of a horrific attack on a school in Peshawar that killed
       over 100 children. We want a strong partnership with the country,
       but a new policy is long overdue. One option, as Ranking Member
       Engel and I proposed earlier this year, would be to target those of-
       ficials who maintain relationships with designated terrorist groups
       with travel and financial sanctions. This would make it clear: The
       U.S. and Pakistan cannot have a true strategic partnership until
       Pakistan security services cuts ties with terrorist organizations.
          Recently, senior U.S. officials—including National Security Ad-
       viser Susan Rice and Deputy Secretary of State Tony Blinken—
       have traveled to Islamabad reportedly to press on the Pakistani
       Government. We look forward to hearing from our witness today
       whether there is reason for hope or if our policy is stuck in the
       same rut.
          And I now will turn to Mr. Ted Poe of Texas and Mr. Dana Rohr-
       abacher of California for their opening statements.
          Mr. Poe.
          Mr. POE. Thank you, Mr. Chairman.
          My concern specifically is with our relationship with Pakistan.
       The United States has given Pakistan $30 billion since 9/11. I
       think Pakistan is a Benedict Arnold ally to the United States. Even
       going back to May the 2nd, 2011, when there was the raid in Paki-
       stan on Osama bin Laden, we didn’t tell the Pakistanis we were
       coming because, frankly, they would snitch us off, and Osama bin
       Laden would have left. And the near confrontation that took place
       between the U.S. and Pakistan after the raid—Pakistan scrambled
       two U.S.-made F–16s and were headed to the area where the raid
       took place and a possible confrontation with two U.S.-made jets
       against American helicopters at the raid didn’t happen, but it could
       have happened—pilots that presumably were trained the year be-
       fore in 2010 in Tucson, Arizona. And I think we need to be very
       concerned about providing armaments for Pakistan, who seems to
       play all the sides.
          And I would yield back, Mr. Chairman.
          Chairman ROYCE. Okay.
          And I now yield time to Mr. Dana Rohrabacher of California.
          Mr. ROHRABACHER. Thank you very much. When I was elected 28
       years ago, I think most people considered me Pakistan’s best friend
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       in the House of Representatives. And let me just say that over the
       years, I have been deeply disappointed that those people who I con-
       sidered to be my friends were betraying the trust of the United
       States and were committing acts that were only the acts that an
       enemy would commit, even though we continued to have a facade
       of friendship.
          We have given $30 billion—$30 billion—since 9/11, to Pakistan.
       Yet we realize that since 9/11 that there is ample evidence that
       Pakistan is still deeply involved with various terrorist networks,
       including supporting the Taliban in Afghanistan, and radicals who
       kill Americans. Frankly, our relationship with Pakistan has been
       a disgrace. We have a government that gave safe haven to Osama
       bin Laden, the murderer of 3,000 Americans—3,000 Americans
       slaughtered in front of us. I don’t think anybody believes that the
       high level people in the Pakistan Government didn’t know about
       that. They continue to hold Dr. Afridi, just to rub it in our face.
       That is the type of relationship they have with us. And to their
       own people, they are slaughtering people in the Balochistan and
       the Sindhis and others who are being brutally oppressed by a
       clique in their government, so it is not all Pakistan, but the clique
       that runs that country is treating us like suckers. And they should
       because we are. We are acting foolish, very foolish. Giving people
       money who have continually involved themselves in activity that is
       harmful to the United States of America is not going to win their
       friendship.
          So, Mr. Chairman, I hope that we face facts, and if the Pakistani
       Government wants to be our friend, they can be our friend. But
       they have not been, and they need to change that if we are to con-
       tinue on the relationship that we have. I would like to at this point
       to submit for the record a number of articles showing that, again,
       Pakistan continues to support various terrorist operations as well
       as their relationship with China, at the expense of their own peo-
       ple, the Baloch in particular, and I submit that for the record at
       this point.
          Chairman ROYCE. Without objection.
          Mr. ROHRABACHER. Thank you very much, Mr. Chairman.
          I yield back.
          Chairman ROYCE. We have four votes on the floor, so we will re-
       cess the hearing and return for witness testimony and questions
       after those four votes.
          And we appreciate the patience of our witness and those in at-
       tendance, and for now, we stand in recess.
          [Recess.]
          Ms. ROS-LEHTINEN [presiding]. I will give him the opportunity to
       make an opening statement, if Dr. Bera would like to make one,
       and then I will introduce the Ambassador. He will make his state-
       ment, and we will get to the questions and answers.
          Dr. Bera is recognized.
          Mr. BERA. Thank you, Madam Chairwoman. I will keep my com-
       ments short so we can hear from the Ambassador.
          Obviously, as we look at the South Asian region, we look at
       India, we look at Pakistan, the relationship is incredibly important,
       particularly as the changing mission in Afghanistan is—the role of
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       Pakistan and India in stabilizing the region is incredibly complex
       and important.
          It is an honor to welcome Ambassador Olson to the job. I under-
       stand this is your first month on the job, so looking forward to
       working with you and looking forward to furthering the relation-
       ship between the United States and South Asia and stabilizing the
       region. So thank you.
          Ms. ROS-LEHTINEN. Thank you so much, Dr. Bera.
          The chairman would like to express his sorrow for not being
       here, Mr. Ambassador, but he is leading the charge on the House
       floor on four bills from our committee. And that is why he is not
       here, and that is why Mr. Engel is not here either.
          We are pleased to be joined by Ambassador Richard Olson. Am-
       bassador Olson is a Special Representative for Afghanistan and
       Pakistan. Immediately prior to this appointment, Ambassador
       Olson served as the U.S. Ambassador to Pakistan, but he has
       served in many capacities all over the world since joining the State
       Department in 1982. Ambassador Olson has been recognized sev-
       eral times for his service, including being awarded the Presidential
       Distinguished Service Award.
          Thank you for being with us, Mr. Ambassador.
          Without objection, the witness’ full prepared statement will be
       made a part of the record, and members will have 5 calendar days
       to submit statements, questions, and extraneous materials for the
       record.
          Ambassador Olson, please summarize your remarks.
       STATEMENT OF THE HONORABLE RICHARD OLSON, SPECIAL
        REPRESENTATIVE FOR AFGHANISTAN AND PAKISTAN, U.S.
        DEPARTMENT OF STATE
         Mr. OLSON. Madam Chair, members of the committee, thank you
       for the opportunity to appear before you today to discuss the cur-
       rent state of the United States’ bilateral relationship with Paki-
       stan. I am honored to testify in front of you for the first time in
       my capacity as U.S. Special Representative for Afghanistan and
       Pakistan, after having served as your Ambassador in Pakistan and
       previously at our Embassy in Kabul. I am humbled and privileged
       to be in this new role at such a critical time for the U.S. relation-
       ship with both Pakistan and Afghanistan.
         It is clear to me that despite many challenges, Pakistan will con-
       tinue to be an important partner for the United States for the fore-
       seeable future, particularly in light of our enduring presence in Af-
       ghanistan. While we do not always see eye to eye on every issue,
       our relationship with Pakistan is vital to the national security of
       the United States. Most importantly, we have the opportunity to
       continue working with Pakistan today on counterterrorism issues
       along with strategic stability, economic growth, and democratic
       governance to help shape a future in which Pakistan is more sta-
       ble, increasingly prosperous, and plays a constructive role in the re-
       gion.
         Pakistan is a complex place, and it is important not to overlook
       the significant progress made in the last few years. In 2013, Paki-
       stan completed its first democratic transition from one elected civil-
       ian government to another. During the past 2 years, we can point
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       to progress, however imperfect, made across the economic and secu-
       rity sectors. Prime Minister Nawaz Sharif and his team have re-
       stored macroeconomic stability to Pakistan and improved economic
       growth. While structural changes are still needed to set Pakistan’s
       economy on a path to accelerated growth, the reforms to date are
       a considerable accomplishment.
          There has also been substantial changes on the security front.
       Beginning in June 2014, Pakistan initiated large-scale counterter-
       rorism operations in the Federally Administered Tribal Areas. The
       subsequent Peshawar Army School attack of exactly 1 year ago
       today was cited by terrorists as retribution for Pakistan’s oper-
       ations. It galvanized public opinion in Pakistan and prompted
       Pakistan to increase its counterterrorism efforts, not just in tribal
       areas. Through these operations, Pakistan has rooted out many ter-
       rorist safe havens and recovered more than 160 tons of improvised
       explosive device precursors.
          In addition to taking action on internal threats, Pakistan’s CT
       cooperation with the United States on al-Qaeda has been critical in
       decimating the organization. However, while Pakistan has made
       significant sacrifices in its fight against terrorism, we believe it can
       also take more steps to put pressure on all terrorist groups in Paki-
       stan that threaten regional stability.
          Pakistan is becoming a more constructive actor in the region.
       Last July, Pakistan facilitated a direct meeting between Afghan
       Government and Taliban officials in Murree, Pakistan, a milestone
       in our ongoing efforts to pursue a political settlement in Afghani-
       stan. Last week Pakistan hosted the Regional Heart of Asia con-
       ference, attended by President Ghani, which yielded productive dis-
       cussions about regional cooperation to advance the peace process
       and Afghanistan’s long-term stability. In addition, India and Paki-
       stan’s commitment last week to restart a bilateral dialogue is par-
       ticularly important.
          In describing this progress, it is nonetheless clear that real chal-
       lenges remain. While we see progress in decreasing the presence of
       certain terrorists in Pakistan, we continue to press Pakistan to tar-
       get all militant groups that have safe haven in Pakistan, particu-
       larly the Taliban, including the Haqqani Network and Lashkar-e-
       Tayyiba. We have made it clear to the Pakistanis that these orga-
       nizations threaten Pakistan, the region, and the panoply of our mu-
       tual national security interests, and they must be addressed rigor-
       ously.
          We have also asked Pakistan to do all that it can to help recover
       U.S. citizens hostages held on Pakistani territory. We continue to
       press for greater cooperation between Afghanistan and Pakistan,
       both to stabilize the common border region and to build the con-
       structive relationship necessary for regional stability. It is also crit-
       ical that Pakistan improve relations with its other neighbor, India.
       Recent high-level talks between Indian and Pakistani officials and
       the announcement of the resumption of formal dialogue is welcome.
       We hope the dialogue will be used to reduce tensions and increase
       ties between the two nations.
          Naturally, as Pakistan seeks to combat violent extremism and
       pursue counterinsurgency and counterterrorism objectives, we con-
       tinue to encourage and support Pakistan to strengthen the rule of
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       law, civil liberties, respect for human rights, accountability, and
       freedom of speech, which we firmly believe are vital to lasting
       peace and security.
          Our civilian assistance programs help make progress toward
       these economic governance ends and a developing democracy, and
       it is essential they are sustained at current levels.
          With that, I would like to conclude my statement, Madam Chair,
       and I am available for your questions and comments.
          [The prepared statement of Mr. Olson follows:]
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